Case 1:19-cv-00005-WES-PAS Document 1-8 Filed 01/03/19 Page 1 of 11 Page|D #: 113

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Case 1:19-cv-OOOOB-WES-PAS Document 1-8 Filed 01/03/19 Page 3 of 11 Page|D #: 115

John B. Ennis

.4 ltorney at Law

1200 Reservoir Avenue
Cranston, Rhode lsland 02920

Tel. (401) 943-9230

October 29, 2018

Bank of America

Attn: Notice of Error &
Request for lnformation

P.O. Box 942019

Simi Valley, CA 93094-2019

Fax (401) 679-0035

Clients: Dolores Cepeda
Address: 177 Dexter Street
Providence, RI 02907

Loan Number:

Dear Sir or Madam: 4

Please consider this letter to constitute a Notice of Error under 12 CFR Section 1024.35 of
Regulation X of the Mottgage Sei"vicing Act under RESPA, which Regulation became effective
on January 10, 2014. These amendments implemented the Dodd-F rank Wall Street Reform and
Consumer Protection Act provisions regarding mortgage loan servicing Under these
amendments, you must acknowledge receipt of this Notice within five (5) days thereof
(excluding legal public holidays, Saturdays and Sundays) and must advise me of your responses
to this notice within thirty (30) days of receipt thereof (excluding legal public holidays,
Saturdays and Sundays).

The written authority of the client to my law firm for this Request is attached hereto and
incorporated herein by this reference.

Under Section 1024.35(b) of Amended Regulation X, the tenn “error” means the following
categories of covered errors:

(l) Failure to accept a payment that conforms to the servicer's written requirements for the
borrower to follow in making payments

(2) Failure to apply an accepted payment to principal, interest, escrow, or other charges under the
terms of the mortgage loan and applicable law.

(3) Failure to credit a payment to a borrower's mortgage loan account as of the date of receipt, in
violation of the prompt crediting provisions in 12 CFR 1026.36(c)(1).

(4) Failure to pay taxes, insurance premiums, or other charges, including charges that the
consumer has voluntarily agreed that the servicer should collect and pay, in a timely manner as
required by the escrow provisions of § 1024.34(21'), or to refund an escrow account balance as
required by § 1024.34(b).

(5) lmposition of a fee or charge that the servicer lacks a reasonable basis to impose upon the
consumer, Which includes, for example, a late fee for a payment that was not late, a charge you
imposed for a service that was not provided_. a default property-management fee for consumers

 

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committed error since no information was provided in response to the following
information:

All documents, electronic documents, collection notes and servicing notes in the mortgage
loan servicing file, which relate to the servicing of the consumer’s mortgage loan from
origination to the time that you transferred servicing. Please provide all such documents
that you transferred to the new loan servicer. This includes all documents on your
electronic system of record.

You also committed error by not providing documents from your system of record and by

refusing to comply with a reasonable request for all documents transferred at servicing to
the new servicer.

You also committed error by making a generic response refusing to provide this
information stating:

A servicer is also not required to respond to requests for information to a borrower’s loan
that seek confidential, privileged or proprietary information. In addition a servicer is not
required to provide a Borrower with information or documentation that is not in the
servicer’s control or possession or that cannot be retrieved in the ordinary course of
business through reasonable efforts.

This generic response merely recites regulatory exemptions without making any effort to
provide the documents requested, which are available in your archives, accessible by a
keystroke of your computer system and are neither confidential, privileged nor

proprietary. Thus you have committed error failing to make a good faith effort to respond
to the Request for Information.

Please correct all of these errors and provide me with notification of the cor_rection, the date of
the correc-tion, and contact information for further assistance; or after conducting a reasonable
investigation and providing the borrower through my firm With a notification that includes a
statement that the servicer has determined that no error occurred, a statement of the reason or
reasons for this determination, a statement of the borrower’s right to request documents relied
upon by the servicer in reaching its determination, information regarding how the borrower can
request such documents_. and contact information for further assistance

`Please be advised that for 60 days after receipt of a Notice of '.Error, you may not furnish adverse
information to any consumer reporting agency regarding any payment that is the subject ofthe

Notice of Error pursuant to § 1024.35(i).
Sincerely,_

` ;"_’"\ \W_

John B. Ennis, Esq.

 

Bank °fAmerica c3_37e Misc-Thanks 20528 04/24/2017

de

Home Loans

Customer Service Department
P.O. Box 31785

Tampa, FL 33631-3 785

Date: January 18, 2018

JOHN B. ENNIS, Esq, ACcount No.: ~
1200 RESERVO|R AVE

CRANSTON, Rl 02920-60'| 2 Pl'°Pel"ty Address:

177 Dexter St
Providence, R| 02907

We have completed your request for information regarding your
client’s home loan account referenced above.

We have received your correspondence dated December 7, 2017, (USPS mail receipt ending

§695 83.) addressed to Bank of America, N.A., regarding the above referenced loan for Dolores
epeda.

Bank of America, N.A. has reviewed your correspondence Certain requests described in your
correspondence constitutes a valid qualified written request (QWR) under the Real Estate Settlement
and Procedures Act (RESPA) and will be addressed in accordance with RESPA guidelines

We have received the authorization letter signed by our customer granting you access to their loan.
This letter will confirm that we have you listed as an authorized third party on the above-referenced
loan. Please note that authorization is only good for 90 days from the date authorization is received
unless there is a specific expiration date included The authorization on this account will expire
lvlarch 12, 2018, unless we receive an updated authorization form with a specific end date.

We have requested for a copy of your client's Servicing File, which includes servicing notes such as
the call history to be mailed to your address, under separate cover. Please note that this file will only

contain information beginning lanuary 1, 2014 until the present Please allow ten business days for
delivery

Please be aware that records prior to lanuary l, 2014, will not be furnished as we have provided all
information that is available or required to comply with a Request for lnformation as defined under
2013 Real Estate Settlement Procedures Act (Regulation X) and Truth in Lendi'ng Act (Regulation Z)
Mortgoge Servicing Final Rules.

We have enclosed a Loan Transaction History Stotement for your review. The statement provides
pertinent information on payments received, tax and insurance payments disbursed funds in the
suspense/unapplied funds balance, fees due and late fees assessed and paid. The Loan Transaction
History Starement is designed to be user-friendly and there are no codes or terms used that require
specific definitions Paid late charges. if applicable will be reported to the lRS as interest paid.

A servicer is also not required to respond to requests for information to a borrower's loan that seek
confidential, privileged or proprietary information. ln addition, a servicer is not required to provide a

Bank of America, NA. is required by law to lnforrn you that this communication is from a debt collector. |f you are currently in a bankruptcy
proceeding or have previously obtained a discharge of this debt under bankruptcy \aw, this notice ls for informational purposes only and is not an
attempt to collect a debt. a demand for payment or an attempt to impose personal liability for a discharged debt

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Bank of Arnerica. NA. Member FDlC. Equal Housing Lender ®. © 2017 Bank of Amerlca Corporation

 

 

 

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Page 2 of 3

Borrower with information or documentation that is not in the servicer’s control or possession or that
cannot be retrieved in the ordinary course of business through reasonable efforts

However, we have enclosed copies of the following documents for your records:

o 1-4 Family Rider

o Affiliated Business Arrangement Disclosure Statement
o Appraisal of Real Property

» Borrowers Certification and Authorization

0 Federal Truth in Lending Disclosure Statement
0 Fixed Rate interest Only Note

v lnterest Rate Agreement

o Mortgage

¢ Name Affidavit

~ Settlement Statement

o Uniform Residential Loan Application

We have also included a Servicing Transfer Letter from BAC Home L.oans Servicing, LP to our parent
company Bank of America, N.A. effective}uly 1, 2011.

We also received your request for a Cease and Desist for the above-referenced ioan. We are unable

to update the account to show Cease and Desist, as the servicing of this home loan has been service
released

The servicing of this loan was transferred from Bank of Amerlca, N.A. to Fay Servicing on
November 1, 2017. For additional questions please contact the current servicer directly at
1-800-495-7166, or in writing at the following address

Fay Servicing
PO Box 809441'
Chicago, ii_ 60680-9441

We have enclosed a copy of the service release letter dated October 12. 2017; however, please
contact the new servicer to verify contact information as this may have changed

P|ease note.that your correspondence included a copy of an investor letter_maiied to you dated
August 14, 2017; however, your correspondence did not include any questions related to the |etter.
Please contact the current servicer directly for any updated investor information.

You can request additional information and/or documents for your client's account by mailing a

written request to: l

Bank of America, N.A.
Notice of Error and Request for information

PO Box 942019
Slmi Val|ey, CA 93094-2019

 

 

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Summary Page
Page 3 of 3

Questions?

We appreciate the opportunity to serve your home loan needs if you have questions please call our
Customer Service Department at 1-800-669-6607, Nion'day through Friday, between the hours of
8 a.m. and 9 p.m., Eastem Standard Time.

 

 

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John B. Enn`is Esq § v us Posraee mo rees mo

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Bank of America

BQA Notice of Error Request for information
. PG BOX 942019

SiMl VALLEY CA 93094-2019

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v 00005 WES-PAS Document 1-8 Filed_01/03/19 Page 9 of 11 Page|[) #- 121

John B. Ennis

Attorney at Law
1200 Reservoir Avenue
Cranston, Rhocle Island 02920

Tel. (401) 943-9230
Decernber 7, 2017

Bank of America

Attn: Notice of Error &
Request for lnforxnation

P.O. Box 942019

Simi Valley, CA 93094-2019

nn (401) 679-0035

Clients: Dolore_s Cepcda

M " Adclrcss:v 177 Dexter Street, Providence, R102907

" Loan Number:

Re: Request for I_nformation Pursuant to Section 1024.36 of Regulation X

Dea.r Sir or Madam:

This is a Request for Information relating to your servicing oi" the mortgage loan of the above-
named client All references herein arc to Regulation X of the Mortgage Servicing Act as
amended by the Consurner Financial Protection Bureau pursuant to the Dodd Fr_ank Act.

The written authority of the client to my law firm for this Request is attached hereto and
incorporated herein by this reference

Pursuant to Section 1024.36(<:) of Regulation X, you must within five (5) days (excluding legal
public holidays, Saturdays and Sundays) provide our office with a response to this Request
acknowledging receipt of this information request

Pursuant to Section 1024.36(d), you must respond no later than thirty (3 0) days (excluding legal
’ public holidays, S_a.tuxdays and Sundays) after you receive this request for information.
` ':Please_ provide the following information within the time periods noted herein:
' ‘All documents, electronic documents and servicing notes in the mortgage loan servicing
file, which relate to the servicing of the consumer’s mortgage loan from'o_rigination to the
time that you transferred servicing. Please provide all such documents that you

transferred to the new loan servicer. This includes all documents

on your electronic system
of record.

Sincerely,

John B. Ennis, Esq.

 

 

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» _~.tt you hava any questions regarding WUHO&" ....... ,. . ,
. . r_ contact the servicer .t"nstat the:_ telephone number or mailing address

Bank of Amer\cat N,A

 

tier commendaer other than ':

P.O Box 31785

 

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your loan servicer a`s indicated abov§

 

    

 

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n Home Loan Te'an'l z

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